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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 LEO D. PLOTKIN (SBN 101893)
 LEVY, SMALL & LALLAS
 A Partnership Including Professional Corporations
 815 Moraga Drive
 Los Angeles, California 90049
 Telephone: (310)471-3000
 Facsimile: (310)471-7990
 lplotkin@lsl-la.com




D      Individual appearing without attorney
[g]    Attorney for: PNC Bank, National Association

                                        UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

 In re:                                                                       CASE NO.: 8:16-bk-10738-SC
 PCA Aerostructures Company                                                   CHAPTER: 7




                                                                                          APPLICATION FOR ORDER SETTING
                                                                                           HEARING ON SHORTENED NOTICE
                                                                                                   [LBR 9075-1 (b)]

                                                                Debtor(s).



1.    Movant applies under LBR 9075-1 (b) for an order setting a hearing on shortened notice on the following motion:

      a.   Title of motion: Motion for Relief from the Automatic Stay Under 11 U S C Section 362

      b.   Date of filing of motion: 3/14/2016


2.    Compliance with LBR 9075-1 (b)(2)(A): (The following three sections must be completed):

      a.   Briefly specify the relief requested in the motion:
           Movant, a secured creditor of Debtor, seeks relief from the automatic stay to exercise all of its
           rights and remedies under the Uniform Commercial Code, including without limitation
           foreclosure under non-bankruptcy law, against the collateral securing Debtor's indebtedness,
           which consists of all of Debtor's personal property.




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     b.   Identify the parties affected by the relief requested in the motion:
           Movant, Debtor, the Chapter 7 Trustee, and the secured creditors listed on Exhibit 4 to the
           Motion for Relief from Stay. The Chapter 7 Trustee does not oppose the OST.




     c.   State the reasons necessitating a hearing on shortened time:
           The Chapter 7 Trustee is filing, today, an Application for Order Shortening Time for hearing
           on his motion to abandon property that serves as Movant's collateral that is the subject of its
           Motion for Relief from Stay, and it makes sense for both motions to be heard at the same
           time. In addition, the tenant at Debtor's former Gardena facility asserts that all collateral
           must be removed by no later than March 24, 2016 and that Movant must pay occupancy
           expenses of $1,500 to $2,000 per day until such time as its collateral is removed. In
           addition, Debtor's customers have asserted that they need to obtain raw materials and
           work-in-process to timely complete work on purchase orders for Department of Defense and
           commercial projects; upon obtaining relief from stay, Movant will make the necessary
           arrangements with Debtor's former customers.

3.   Compliance with LBR 9075-1 (b)(2)(8): The attached declaration(s) justifies setting a hearing on shortened notice, and
     establishes a prima facie basis for the granting of the motion.


4.   Movant has lodged a proposed Order Setting Hearing on Shortened Notice on mandatory form F 9075-1.1.0RDER
     .SHORT.NOTICE



Date: 3/14/2016                                                                   Levy. Small & Lallas
                                                                                  Printed name of law firm




                                                                                  Signature of individual Movant or attorney for Movant

                                                                                  Leo D. Plotkin
                                                                                  Printed name of individual Movant or attorney for Movant




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 3   Los Angeles, California 90049-163 3
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 4   Facsimile:     (310) 471-7990
     Email:         lplotkin@lsl-la.com
 5

 6   Attorneys for Movant
     PNC Bank, National Association
 7

 8

 9                                 UNITED STATES BANKRUPTCY COURT

10                                  CENTRAL DISTRICT OF CALIFORNIA

11                                            SANTA ANA DIVISION

12   In re:                      )                           Case No. 8:16-bk-10738-SC
                                 )
13                               )                           Chapter 7
                                 )
14   PCA AEROSTRUCTURES COMPANY, )                           DECLARATION OF LEO D. PLOTKIN IN
                                 )                           SUPPORT OF APPLICATION BY PNC
15                               )                           BANK, NATIONAL ASSOCIATION FOR
                                 )                           ORDER SHORTENTING TIME OF
16                       Debtor. )                           HEARING ON MOTION FOR RELIEF
                                 )                           FROM THE AUTO MA TIC STAY
17                               )
                                 )
18                               )                           Ctrm: SC
                                 )                           Place: 411 West Fourth Street
19                               )                                  Santa Ana, California
                                 )
20   ~~~~-~~~~~~~-~~~~~)
21

22              I, Leo D. Plotkin, declare:

23              1.     I am an attorney at law duly admitted to practice before this Court and all courts

24   of the State of California and, through my professional corporation, am a member of Levy, Small

25   & Lallas, A Partnership Including Professional Corporations, attorneys for Movant PNC Bank,

26   National Association ("PNC") in this action. I have personal, first-hand knowledge of the entire

27   contents of this declaration and, if called upon to do so, would and could competently testify

28   thereto.

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 1          2.      I am advised that the Chapter 7 Trustee is today filing an Application for Order

 2   Shortening Time for Hearing on his motion to abandon property of the estate that constitutes

 3   collateral for the secured loan that PNC made to Debtor, as described in PNC's accompanying

 4   Motion for Relief from the Automatic Stay (the "Motion"). I believe that it would be most

 5   efficient if the Motion were heard concurrently with the Trustee's motion because both motions

 6   concern the same property.

 7          3.      I believe that further good cause exists to hear the Motion on shortened notice.

 8   The value of the inventory collateral will quickly diminish if relief from stay is not ordered on an

 9   expedited basis. At the time Debtor filed its bankruptcy petition, it had both raw materials and

10   works-in-process ("WIP") necessary to complete pending orders for Debtor's customers.

11   Debtor's customers, in turn, have contacted me and have asserted that they need to obtain the

12   raw materials and WIP currently held by Debtor in order to timely complete work on purchase

13   orders for the Department of Defense and commercial projects, or they will make alternative

14   arrangements and acquire such materials elsewhere. If the customers go elsewhere, the value of

15   the inventory will decline dramatically. One example of this is the recent order shortening time

16   granted on PNC's motion for relief from stay with respect to WIP relating to an order placed

17   with Debtor by Fuji Heavy Industries Ltd. ("FHI"). Although the order shortening time was

18   immediately granted and the hearing on the motion for relief from stay was set on an expedited

19   basis, FHI nonetheless elected to obtain its materials elsewhere, leading to a withdrawal of the

20   motion. As a result, the WIP with an approximate value of $43,000, based upon the purchase

21   order from FHI to Debtor, plummeted in value. It is my understanding based upon discussions

22   with a liquidator that such collateral now is likely worth no more than 5 cents on the dollar. I

23   believe that the same fate will befall other raw material and WIP for which other former

24   customers of Debtor are waiting if such customers are not able to quickly get their materials. If

25   the motion for relief from stay is granted, PNC can then work with Debtor's former customers to

26   release such inventory for the parties' mutual benefit, and likely also for the benefit of the

27   Department of Defense.

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1            4.      A substantial portion of PNC's collateral is stored at Debtor's Gardena facility,

2    and the current tenant at the facility asserts that PNC must pay occupancy expenses of $1,500 to

3    $2,000 per day until such time as the collateral is removed. Further, the tenant at the facility

4    asserts that all collateral must be removed no later than March 24, 2016. It is therefore important

5    to PNC that the Motion be heard as quickly as possible so that, if relief is granted, it can make

6    arrangements to immediately remove the collateral to avoid the unnecessary expenditure of funds

7    for storage and the potential that the tenant may, after March 24, 2016, refuse to release the

8    Collateral at all.
9            I declare under penalty of perjury under the laws of the United States of America that the

10   foregoing is true and correct.
11           Executed this 14th day of March, 2016 at Los Angeles, California.

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                                                            Leo D. Plotkin
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     32165
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 815 Moraga Drive, Los Angeles, CA 90049-1633

A true and correct copy of the foregoing document entitled: APPLICATION FOR ORDER SETTING HEARING ON
SHORTENED NOTICE [LBR 9075-1 (b)] will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 03/14/2016 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
 Mark S Horoupian (Counsel for Debtor) mhoroupian@sulmeyerlaw.com
 Jeffrey I Golden (Chapter 7 Trustee) jgolden@lwgfllp.com
 U.S. Trustee ustpregion16.sa.ecf@usdoj.gov, Steven T. Gubner sgubner@brutzkusgubner.com
 Denice Gaucin denice@evict123.com, Franklin C. Adams franklin.adams@bbklaw.com
                                                                                      D
                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 03/14/2016 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
 PCA Aerostructures Company,             Debtor
 17800 Gothard Street
 Huntington Beach, CA 92647

                                                                                      IZJ   Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 03/14/2016 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 VIA FEDERAL EXPRESS
  Hon. Scott C. Clarkson
 411 West Fourth Street, Suite 5130/Courtroom 5C
  Santa Ana, CA 92701-4593
                                                                                      D     Service information continued on attached page


I declare under penalty of perjury under the laws of the United States th,at the forego,ing is tru: an/~,7ct.

03/14/2016
 Date
                  ~eidi Eeltilli
                              Printed Name
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                                                                                              f7  ignature




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Continued from Item No. 2 of Proof of Service
(Service by U.S. Mail)


Gem Cap
Attn: David Ellis
24955 Pacific Coast Highway I Suite A202 I Malibu, California 90265
Direct: 310.593.9074
Mobile: 310.494.1437
Direct Fax: 310.919.3143
dellis@gemcapsol utions. com

Vintage Capital Group, LLC
Attn: Tom Webster
11611 San Vicente Blvd.
10th Floor
Los Angeles, CA 90049
Office:    310-806-6595
Cell:    760-908-7441
email: twebster@vintagecapitalgroup.com
